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                IN THE UNITED STATES DISTRICT COURT
              FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

VOTER REFERENCE                            :   CIVIL ACTION NO. 1:24-CV-294
FOUNDATION, LLC,                           :
                                           :   (Judge Conner)
                   Plaintiff               :
                                           :
             v.                            :
                                           :
ALBERT SCHMIDT,                            :
                                           :
                   Defendant               :

                            CIVIL PRACTICE ORDER

      AND NOW, this 16th day of April, 2024, for the purpose of establishing

practices and procedures to govern the above-captioned civil action, it is hereby

ORDERED that:

      1.     The practices and procedures in the above-captioned civil action
             shall be in accordance with the Federal Rules of Civil Procedure and
             the Local Rules of Court, except as modified by this order and other
             orders of this court.

      2.     Counsel and pro se parties are responsible for reading this order
             thoroughly upon receipt and for reviewing it regularly as the case
             proceeds. A pro se party shall have all the duties that would normally
             be placed upon their counsel by the Federal Rules, Local Rules, this
             order, and other orders of this court, unless otherwise noted.

      3.     Parties are encouraged to consent to disposition of this case by a
             United States Magistrate Judge under 28 U.S.C. § 636(c)(1). A copy
             of the consent form adopted by this district is available on the court’s
             website at https://www.pamd.uscourts.gov/sites/pamd/files/forms/
             directconsentMDPA_4-26-19.pdf.

      4.     All written communication with the court shall be filed to CM/ECF.
             Correspondence should not be mailed, emailed, or faxed to chambers.
             Counsel shall not copy the court on correspondence between counsel
             unless specifically invited to do so by the court.
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5.    Courtesy copies of motions, briefs, exhibits, and other filings are
      discouraged unless the submission is voluminous. Counsel should
      contact chambers at (717) 221-3945 if unsure whether a courtesy copy
      is appropriate. This rule shall not apply to pro se litigants, who shall
      file all documents in hard copy with the Clerk of Court.

6.    Inquiries concerning scheduling matters, courtroom logistics, and
      other matters should be directed to chambers at (717) 221-3945.

                            Discovery Procedures

7.    Counsel shall proceed with active discovery during the court’s
      consideration of a motion to dismiss unless otherwise ordered. Any
      request to suspend discovery pending disposition of a motion to
      dismiss shall be brought to the court by formal motion.

8.    Confidentiality agreements shall be submitted by stipulation. Any
      such stipulation shall provide a separate signature line for the court’s
      approval.

9.    If a discovery dispute arises and is not resolved after counsel attempt
      in good faith to do so, counsel shall file a letter to the docket requesting
      a telephonic discovery conference and outlining the nature of the
      dispute. Counsel shall not file a formal discovery motion unless
      directed to do so following the telephonic conference.

10.   In nonjury cases, counsel shall meet within four weeks after the close
      of discovery and discuss settlement. After that meeting, counsel shall
      notify this court if they would like the assistance of a United States
      Magistrate Judge in conducting a formal settlement conference.

                              Motions Generally

11.   Unless otherwise directed, all requests for court action other than
      discovery disputes shall be presented to the court by formal motion
      complying with the Local Rules, particularly Local Rule 5.1(g)
      (proposed orders), Local Rule 7.1 (certificates of concurrence or
      nonconcurrence), and Local Rule 7.5 (supporting briefs).

12.   If moving counsel cannot reach counsel for other parties at the time a
      motion is filed, the Local Rule 7.1 certificate shall so certify. Moving
      counsel shall have a continuing duty to file a certificate of concurrence
      or nonconcurrence within a reasonable time after all other counsel
      have been reached and have either granted or withheld concurrence.


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      Concurrence in a motion to extend time shall not obviate the need for
      the movant to set forth in the motion the reasons for the requested
      extension.

13.   The court will summarily deny any motion for which the supporting
      brief fails to adequately describe the factual background for the
      motion, fails to cite legal authority supporting the requested relief, or
      otherwise offers only conclusory assertions or rationale.

14.   In accordance with Local Rule 7.8, all briefs shall each be limited to
      the greater of 15 pages or 5,000 words unless otherwise authorized by
      the undersigned. This requirement will be strictly enforced, and the
      court may, in its discretion, strike any brief that exceeds this limitation
      without prior authorization. Any motion for permission to exceed the
      page or word limitation must be filed at least two business days before
      the brief is due.

15.   Requests for oral argument will be considered on a case-by-case
      basis. Counsel desiring oral argument shall include a formal request
      for argument in their motion and supporting brief. Counsel shall not
      file a separate motion requesting oral argument.

16.   Counsel shall include a table of contents with page references in every
      brief regardless of whether the brief exceeds 15 pages.

17.   The requirement of Local Rule 7.8(a) that a party attach to their
      brief a copy of each unpublished opinion cited therein shall apply in
      this case only to the extent the cited opinion is unavailable on either
      Westlaw or Lexis.

                         Dispositive Motion Practice

18.   Dispositive motions shall be filed together with supporting briefs by
      the deadline established in the court’s case management order, as
      modified by any subsequent scheduling order(s).

19.   In multiple-defendant cases, any defendant contemplating a
      dispositive motion shall confer with other defense counsel and agree
      to file joint motions and briefs whenever possible. This requirement
      shall also apply to plaintiffs in multiple-plaintiff cases. Those parties
      needing to brief separate issues may do so by filing separate briefs.




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20.   In accordance with Local Rule 5.1(h), each dispositive motion,
      supporting brief, and statement of facts required to be filed under
      Local Rule 56.1 shall be filed as a separate docket entry.

21.   Counsel shall file an index of exhibits as an attachment to the
      statement of material facts required to be filed under Local Rule 56.1.
      Counsel shall thereafter file each individual exhibit in support of or
      opposition to summary judgment as a separate attachment to their
      statement of material facts. Omnibus attachments combining multiple
      exhibits will be stricken, and counsel will be directed to resubmit their
      filing in conformity with this instruction.

22.   The court prefers that parties submit full deposition transcripts,
      rather than excerpts or partial transcripts, with the statement of
      material facts required to be filed under Local Rule 56.1.

                            Pretrial Proceedings

23.   The schedule for pretrial proceedings will be established during a
      pretrial scheduling conference to be held after counsel notify the court
      that no dispositive motions will be filed or, if dispositive motions are
      filed, after the motions have been resolved.

24.   Motions in limine shall be filed together with supporting briefs by the
      deadline to be determined during the pretrial scheduling conference.
      Any motion to exclude expert testimony that will require a Daubert
      hearing shall be filed within 30 days from receipt of the challenged
      expert’s report, unless otherwise ordered.

25.   A final pretrial conference will be held on a date and time to be
      determined during the pretrial scheduling conference. The following
      procedures shall apply to the pretrial conference:

      a.    In accordance with Local Rule 16.2(b), lead counsel who will try
            the case as well as litigants or other representatives who have
            settlement authority must be present at the pretrial conference.
            Any request concerning attendance at the conference shall be
            made by motion no later than three days before the conference.

      b.    No later than the pretrial conference, counsel shall notify the
            court if they wish to employ the summary jury trial procedure.

      c.    At the pretrial conference, counsel for plaintiff(s) shall be
            required to set forth the elements of the claim(s) raised, and



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            counsel for defendant(s) shall be required to identify any legal
            defense(s) that may be raised. During trial, the court will limit
            counsel to the legal theories and defenses identified at the
            pretrial conference, unless good cause is shown for allowing
            additional legal theories or defenses and the court is provided
            sufficient time to consider and evaluate them before the start of
            trial.

26.   The following procedures shall govern the parties’ preparation for the
      pretrial conference:

      a.    Each party shall file a pretrial memorandum no later than one
            week before the pretrial conference. Failure to timely file a
            pretrial memorandum will result in an appropriate sanction
            under Federal Rule 16(f).

      b.    The parties shall utilize the pretrial memorandum form
            attached to the Local Rules and designated “Appendix B.”
            The pretrial memorandum form is available on the court’s
            website at https://www.pamd.uscourts.gov/sites/pamd/files/
            forms/Pretrial_mem.pdf.

      c.    Each pretrial memorandum shall include a table of contents
            with page references. Expert reports, if any, and exhibit lists
            shall be submitted as separate attachments to the parties’
            pretrial memoranda. In addition:

             i.     In jury cases, proposed voir dire, proposed points for
                    charge, and proposed special interrogatories and verdict
                    forms shall be submitted as separate attachments to the
                    parties’ pretrial memoranda.

            ii.     In jury cases, the parties shall also attach to their
                    pretrial memoranda a joint voir dire statement, a brief
                    statement describing the case which will be read by the
                    court to the prospective jurors during voir dire. In most
                    cases, this statement should not exceed one paragraph.

           iii.     In nonjury cases, proposed findings of fact and
                    conclusions of law shall be submitted as separate
                    attachments to the parties’ pretrial memoranda. The
                    court may order the parties to supplement proposed
                    findings with citations to the transcript and admitted
                    exhibits after the nonjury trial.


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      d.    If the parties intend to use depositions at trial in place of live
            testimony, the parties shall review the depositions before the
            pretrial conference. If there are objections which cannot be
            resolved among counsel, the objections and a copy of the
            relevant transcript shall be submitted no later than one week
            before the pretrial conference. If counsel fail to meet this
            deadline, the court may, in its discretion, deem the objections
            withdrawn.

      e.    Three weeks before the deadline for pretrial memoranda,
            counsel for the parties shall hold the attorneys’ conference
            required by Local Rule 16.3. This conference shall be in
            person unless the court, upon motion, approves a different
            arrangement. Failure of plaintiff(s) to initiate the holding of the
            conference or of defendant(s) to respond to such initiative in an
            appropriate manner may result in the imposition of sanctions,
            including possible dismissal of the action.

      f.    In accordance with Local Rule 16.3(b), the parties shall pre-
            mark all exhibits during the meeting of counsel preceding the
            pretrial conference. The parties shall list their exhibits on the
            Clerk’s exhibit list form available on the court’s website at
            https://www.pamd.uscourts.gov/sites/pamd/files/forms/exh-
            list.pdf. Exhibit lists shall be submitted as a separate
            attachment to the parties’ pretrial memoranda.

      g.    Counsel or pro se parties who intend to utilize courtroom
            technology during trial may contact the court’s Deputy Clerk to
            arrange a date and time to familiarize themselves with and test
            the available technology. The court expects counsel and pro se
            parties to have working familiarity with courtroom technology to
            avoid unnecessary delays during trial.

                          Trial Procedures

27.   Jury selection and trial, or a bench trial in nonjury matters, will be
      scheduled for a date to be determined during the pretrial scheduling
      conference.

28.   Before trial begins, counsel must submit three complete exhibit lists
      and three complete sets of exhibits for the court’s use, in addition to
      the original which will be offered into evidence. Parties offering more
      than 10 documentary or photographic exhibits must provide the court
      with three copies of the exhibits in three-ring binders.


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29.   Any stipulations reached by the parties shall be reduced to writing and
      filed to the docket before trial. Stipulations will be read into the record
      by counsel or by the court at an appropriate time during trial.

30.   If any deposition to be used at trial is videotaped, a transcript of the
      deposition must be provided to the court before trial.

31.   Counsel are strongly encouraged to utilize JERS (Jury Evidence
      Recording System) for presentation of admitted exhibits to the jury
      during deliberations. To utilize JERS, counsel must submit a properly
      formatted USB flash drive with the complete set of exhibits to the
      court’s Deputy Clerk no less than five days before the start of trial.
      Instructions for formatting JERS submissions are available on the
      court’s website at http://www.pamd.uscourts.gov/jers.

32.   Whenever any civil action scheduled for jury trial is settled or
      otherwise disposed of before trial begins, jurors’ costs, including
      mileage and per diem, shall be assessed equally against the parties
      unless the Clerk’s Office at the courthouse where trial is scheduled
      is notified of the settlement in sufficient time to permit the Clerk to
      advise the jurors that their attendance is not required. Notice to the
      court before 2:00 p.m. on the last business day preceding the day on
      which trial is to start shall be sufficient for such purpose. Any party
      may apply to the court for a different assessment of such costs or relief
      therefrom.

                ADR, Settlement, and Voluntary Dismissal

33.   Several forms of alternative dispute resolution are available to the
      parties through the court. The dispute may be referred to mediation
      through the court-annexed mediation program under Local Rule 16.8.
      More information on that program and a list of certified mediators is
      available on the court’s website at https://www.pamd.uscourts.gov/
      alternative-dispute-resolution. The parties may request the assistance
      of a United States Magistrate Judge or other judicial officer or neutral
      evaluator for purposes of conducting a settlement conference through
      the court’s settlement officer program under Local Rule 16.9. The
      parties may agree to participate in a summary jury trial. And in some
      jury-trial cases, the court itself is also available to conduct a settlement
      conference. Should the parties jointly agree to employ any of these
      forms of alternative dispute resolution, they shall so notify the court
      by filing a letter to the docket by no later than the date of the pretrial
      conference.



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34.   The parties shall comply with Federal Rule 41(a) in dismissing any
      civil action pursuant to a settlement agreement or other amicable
      resolution. Rule 41 contemplates three methods of dismissal:

      a.    Before an answer or summary judgment motion has been filed,
            an action can be dismissed by a notice of dismissal signed by
            plaintiff(s) alone under Federal Rule 41(a)(1)(A)(i). No signature
            line for judicial approval is required; a signed notice of dismissal
            closes the case and ends the court’s jurisdiction without further
            court action.

      b.    After an answer or motion for summary judgment has been
            filed, the parties can dismiss a case by filing a stipulation of
            dismissal, under Federal Rule 41(a)(1)(A)(ii), signed by all
            parties to have appeared. No signature line for judicial approval
            is required; a stipulation of dismissal signed by all parties to
            have appeared closes the case and ends the court’s jurisdiction
            without further court action.

      c.    For any dismissal that is conditional or otherwise requires court
            approval, including, for example, a request that the court retain
            jurisdiction for a specific period of time for enforcement of the
            settlement, plaintiff(s) shall submit a motion to dismiss setting
            forth the requested terms for dismissal, accompanied by a
            proposed order, under Federal Rule 41(a)(2).

                      Conflict with Local Rules

35.   To the extent any provision of this order conflicts with any Local
      Rule or any standing order of this court, the conflicting provision of
      this order shall control and the Local Rule or standing order shall be
      suspended.



                                /S/ CHRISTOPHER C. CONNER
                                Christopher C. Conner
                                United States District Judge
                                Middle District of Pennsylvania




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